
**215Upon consideration of the Joint Petition for Disbarment by Consent filed herein pursuant to Maryland Rule 19-736, in which Respondent admits he committed professional misconduct in violation of Rules 1.1, 1.2, 1.3, 1.4, 1.15(a) and (d), 8.1(b), 8.4(a) and (d), of the Maryland Lawyers' Rules of Professional Conduct, which were the rules in effect at the time of this misconduct, it is this 16th day of August, 2016,
ORDERED, that Respondent, Avrohom Reuven Poupko, be and he is hereby disbarred from the practice of law in the State of Maryland; and it is further
ORDERED, that the Clerk of this Court shall strike the name of Avrohom Reuven Poupko from the register of attorneys in the Court, notify Respondent in accordance with **216Maryland Rule 19-742(a), and issue notice of such action in accordance with Maryland Rule 19-761(b).
